             Case 2:14-cr-00239-KJM Document 121 Filed 10/19/16 Page 1 of 3



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 3
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 4   Telephone: (916) 422-4022
     Attorneys for Nelson Gutierrez
 5
 6
                         IN THE UNITED STATES DISTRICT COURT
 7
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9                                              )
     UNITED STATES OF AMERICA,                  )   Case No.: 2:14-cr-00239-GEB
10                                              )
                  Plaintiff,                    )
11                                              )   STIPULATION AND ORDER FOR
         vs.                                    )   CONTINUANCE OF JUDGMENT AND
12                                              )   SENTENCING AND AMENDED PSR
     NELSON GUTIERREZ,
                                                )   SCHEDULE
13                Defendant.                    )
                                                )
14
15
           IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
16
     Judgment and Sentencing scheduled for October 28, 2016, at 9:00 a.m. is continued to
17
     December 2, 2016, at 9:00 a.m. in the same courtroom. Defendant needs additional time
18
     to prepare for sentencing. Ross Naughton, Assistant United States Attorney, and Thomas
19
     A. Johnson, Defendant’s attorney, agree to this continuance.
20
21
     IT IS SO STIPULATED.
22
23   DATED: September 20, 2016                       By:    /s/ Thomas A. Johnson
                                                            THOMAS A. JOHNSON
24                                                          Attorney for Nelson Gutierrez
25
     DATED: September 20, 2016                              PHILLIP A. TALBERT
26                                                          Acting United States Attorney
27                                                    By:   /s/ Thomas A. Johnson for
                                                            ROSS NAUGHTON
28                                                          Assistant United States Attorney



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            Case 2:14-cr-00239-KJM Document 121 Filed 10/19/16 Page 2 of 3



 1         IT IS SO ORDERED.
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     Dated: October 19, 2016
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28                       IN THE UNITED STATES DISTRICT COURT




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              Case 2:14-cr-00239-KJM Document 121 Filed 10/19/16 Page 3 of 3



 1                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 2
                                                    )   Case No.: 2:14-cr-00239-GEB
 3   UNITED STATES OF AMERICA,                      )
                                                    )
 4                  Plaintiff,                      )   MODIFICATION OF SCHEDULE FOR
                                                    )   PRE-SENTENCE REPORT AND FOR
 5       vs.                                        )   FILING OF OBJECTIONS TO THE PRE-
     NELSON GUTIEEREZ,                              )   SENTENCE REPORT
 6                                                  )
                    Defendant.                      )
 7                                                  )
 8
     Judgment and Sentencing date:                              December 2, 2016
 9
10   Reply or Statement                                         November 23, 2016
11
     Motion for Correction of the Pre-Sentence
12   Report shall be filed with the court and                   November 18, 2016
     served on the Probation Officer and opposing
13   counsel no later than:
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     The Pre-Sentence Report shall be filed with
15   the court and disclosed to counsel no later                November 11, 2016
     than:
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17   Counsel’s written objections to the Pre-
     Sentence Report shall be delivered to the                  October 28, 2016
18   Probation Officer and opposing counsel
     no later than:
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